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     EXHIBIT “I”
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  From: GARY LIGHTMAN garylightman@lightmanlaw.com
Subject: Zekaria deposition
   Date: April 17, 2024 at 5:50 PM
     To: Pat Healey phealey@rebarkelly.com, Cathleen Kelly Rebar crebar@rebarkelly.com
    Cc: Kim DiTomaso kditomaso@lightmanlaw.com, Glenn Manochi gmanochi@lightmanlaw.com, GARY LIGHTMAN ltag8r@me.com



      Patrick,

      Please advise us by no later than this Friday, April 19, 2024, of
      available dates when we can re-convene the deposition of Daphna
      Zekaria. If we do not hear back from you by this Friday, then we will
      assume that you and your client will be available on any date we
      select. We plan to send out an Amended Notice of Deposition by no
      later than Monday, 4/22/24.

      Also attached is the transcript of Daphna’s 4/2/24 deposition. We plan
      to start the next deposition by asking Daphna whether the testimony
      she gave under oath at her deposition on 4/2/24, as reflected in the
      attached transcript, was truthful and accurate. So Daphna should
      read the attached transcript prior to her re-scheduled deposition, and
      mark any passages that she believes were not accurately transcribed.
      That will save a substantial amount of time when we reconvene.

      We look forward to timely hearing back from you, by no later than
      Friday 4/19, regarding dates for her fee-scheduled deposition.

      thx
      Gary Lightman
      cell 215-760-3000

      attachment

      cc: Cathleen Rebar, Esquire
          client



       040224dz -
         Full.pdf



      KDT—pls dy to f/u on 4/22 tg
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KDT—pls dy to f/u on 4/22 tg


—
Gary Lightman, Esquire
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